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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr268
                                     )   Hon. Carl J. Nichols
JEFFREY McKELLOP,                    )
      Defendant.                     )
____________________________________)

                                  MOTION TO WITHDRAW

       Comes now undersigned counsel for Defendant Jeffrey McKellop and moves the Court

for leave to withdraw as counsel and to appoint replacement counsel under the Criminal Justice

Act for the reason that undersigned is no longer able meaningfully to communicate with

Defendant or, consequently, to collaborate with him in the ongoing preparation of his defense.

       Undersigned requests the Court to docket an in person status conference as soon as

reasonably practicable to address the scheduling ramifications of the requested relief.

                                                      Respectfully submitted,

                                                      JEFFREY McKELLOP
                                                      By Counsel
                                                      _____/s/____________
                                                      John C. Kiyonaga
                                                      600 Cameron Street
                                                      Alexandria, Virginia 22314
                                                      Telephone: (703) 739-0009
                                                      Facsimile: (703) 340-1642
                                                      E-mail: john@johnckiyonaga.com

                                                      Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on January 20, 2023, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System.
                                                      ____/s/_____________
                                                      John C. Kiyonaga



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